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              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT



AIR-CONDITIONING, HEATING,
AND REFRIGERATION
INSTITUTE, et al.,
       Petitioners,                                  No. 21-1082
                                                     (c/w Nos. 21-1196 &
              v.                                               22-1062)
UNITED STATES
ENVIRONMENTAL PROTECTION
AGENCY, et al.,
       Respondents.



                      UNOPPOSED MOTION TO GOVERN

      Respondents, the United States Environmental Protection Agency and

Michael Regan, in his official capacity as Administrator of the United States

Environmental Protection Agency (collectively “EPA”), after conferring with

Petitioners, the Air-Conditioning, Heating, and Refrigeration Institute, the

Association of Home Appliance Manufacturers, the Consumer Technology

Association, the National Association of Manufacturers, and the National

Electrical Manufacturers Association, move this Court to remove these

consolidated cases from abeyance and establish deadlines for EPA to file the

certified index to the administrative records for the challenged final agency


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actions; for Petitioners to file their opening (proof) brief using the deferred (joint)

appendix approach; for EPA to file its answering (proof) brief; and for Petitioners

to file their optional rely (proof) brief. The parties agree to follow the joint

appendix approach (as just noted), and therefore the Court can also establish

deadlines for Petitioners to file the joint appendix, and for the parties to file their

final briefs.

       EPA notes that it would ordinarily prefer to continue to hold these cases in

abeyance as it continues to progress toward a relevant final agency action. In late

2023, EPA signed a proposed rulemaking under the Toxic Substances Control Act

(“TSCA”), 15 U.S.C. §§ 2601 et seq., with respect to PIP (3:1), i.e., phenol,

isopropylated phosphate (3:1). See 88 Fed. Reg. 82287 (Nov. 24, 2023). Public

comments were due January 8, 2024. Id. at 82287. Currently, subject to Office of

Management and Budget (“OMB”) review, EPA expects this review to conclude

by the end of October 2024. EPA will work expeditiously to publish the final rule

upon completion of OMB review. As EPA has previously reported to the Court,

such final action could obviate the need for further proceedings here or refine the

questions presented.

       Petitioners at this time do not consent to a further abeyance period, and

therefore EPA has elected to file this unopposed motion to govern. The parties




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reserve their right to seek appropriate relief, such as a further abeyance period or

adjustments to the briefing schedule, respecting future events.

                                        Respectfully submitted,

                                        TODD KIM
                                        Assistant Attorney General

Dated: September 18, 2024               /s/ Andrew J. Doyle____________
                                        ANDREW J. DOYLE
                                        Attorney
                                        United States Department of Justice
                                        Environment & Natural Resources Div.
                                        San Francisco Field Office
                                        450 Golden Gate Avenue, Room 07-6714
                                        San Francisco, CA 94102
                                        (202) 532-3156 (mobile)
                                        andrew.doyle@usdoj.gov

                                        Attorney for Respondents



                      CERTIFICATE OF COMPLIANCE

      This motion complies with the word limit imposed by Fed. R. App. P. 27(d)

because it contains no more than 477 words. In addition, the motion has been

prepared in a proportionally spaced typeface using Word 2013 in Times Roman

Number 14.

                                        ___/s/ Andrew J. Doyle__________




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